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                          UNITED STATES DISTRICT COUR                          10----- ~l
                        SOUTHERN DISTRICT OF CALIFORN A                        I OCT 0 9 2~
                                                                              Cl~~~i;'.)1:;:OCT COURT
                                                                         SQUTH£P.:"! D,STRICT OF   UFORNIA
                                                                          Y                        DEPUTY
UNITED STATES OF AMERICA,                         CASE NO. 13CR218                ---­

                          Plaintiff,
                 vs.                              JUDGMENT OF DISMJ:SSAL
SANDRA MARIE ARRATIA,

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information:



     21:952 and 960; 18:2 - Importation of Methamphetamine; Aiding and Abetting




            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.




 DATED: 10/8/2013
                                                   Mitchell D. Dernbin
                                                   U.S. Magistrate Judge
